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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
Deborah Brown, et al.,
                                    Plaintiffs,
                  -against-                                                    17 CIVIL 9078 (AJN)

                                                                                 JUDGMENT
City of New York,
                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated October 15, 2020, the Court approves the

settlement agreement in full; accordingly, this case is closed.

Dated: New York, New York
       October 16, 2020


                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
